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                           IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                  v.
                                                                         Case No. 21-cr-0038 (CRC)
RICHARD BARNETT,

                           Defendant.


            DEFENDANT RICHARD BARNETT’S REPLY MEMORANDUM TO
                 GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                   MOTION FOR MODIFICATION OF RELEASE


                                             I.        INTRODUCTION

         To this day, not only is the government opposing Mr. Barnett’s right to work while on

pretrial release, it is also once again, attempting to create conditions of criminality where none

exist. As the government did in its Opposition to Defendant’s Motion for Pretrial Release, again,

in the instant opposition1 the government has fabricated lies, bent the truth, and distorted facts in

a pathetic attempt to cast Richard Barnett in the worst possible light, so as to deprive him of

freedom, liberty, and justice. The claims the government makes continue to be unsubstantiated

and are more suitable for the tabloids, as it has become apparent that such misstatements will

immediately be misrepresented by the media to the American public.

         As we have stated, Richard Barnett has no criminal history. Despite this fact, the

government has represented to this Court on multiple occasions that Barnett’s imaginary criminal




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 In its opposition, the government asks this Court to impose more restrictive conditions on Barnett’s pretrial release
without properly filing a motion requesting that relief.

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past makes him dangerous, and that somehow Richard has recently engaged in improper conduct.

This could not be further from the truth.

        Another prime example is that pretrial service’s position was misrepresented to this Court.

(See June 17, 2021 U.S. Probation Officer Email attached as Exhibit A (stating in part, “if the

Court deems it appropriate, this USPO is comfortable with approving leave outside a 50-mile

radius”)). The Government’s footnote stating, “[a]s a preliminary matter, the defendant’s PSO

noted that she did not support or join the defendant’s request, as has been stated by the defense,

but, rather, takes no position” is yet another example of the lengths the government is willing to

take to misstate the record. This behavior is unacceptable. The list of misstates in this single

opposition goes on-and-on.2

        The government’s continued use of fictitious nonsense to manipulate the law to achieve its

own dubious end is reprehensible, disrespectful to this Court, and offensive to the attorneys who

strive to win their cases within the rules by artfully arguing their cases on the merits by applying

law to fact.

                                        II.      STATEMENT OF FACTS

        On April 27, 2021, this Court granted Richard Barnett’s Motion for Modification of Bail

and released Mr. Barnett into the High Intensity Supervision Program under the conditions set

forth in this Court’s April 28, 2021 Order. (See ECF Doc. #: 29). Since that time Richard Barnett

has been compliant with the conditions of his release. This certified fact is memorialized in the

June 15, 2021, PRETRIAL COMPLIANCE REPORT. (See ECF Doc. #: 34). This fact is yet

again corroborated by statements made by United States Pretrial Officer Rachel Roisen-Avant in




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 See also Government’s Opposition at p. 3 where the answer Mr. Barnett is now alleged to have stated to a reporter
was not even in response to the question the government references.

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her June 17, 2021 email to Joseph D. McBride, Esq., Barnett’s defense attorney, which states in

its entirety the following:

               If the Court deems it appropriate, this USPO is comfortable with
               approving leave outside a 50-mile radius; however, this USPO is not
               comfortable with approving overnight travel without the Court’s
               approval. The defendant has had two interactions with law
               enforcement of note. On one occasion, law enforcement was
               dispatched to the defendant property for a report of gunfire. Law
               enforcement determined that there the gunfire did not come from the
               defendant’s property. The other incident was determined to be a
               civil dispute. The detective determined that there was no evidence
               of criminal wrongdoing.

(See June 17, 2021 U.S. Probation Officer Email attached as Exhibit A).

                                        III.    ARGUMENT

   A. THE GOVERNMENT LIED WHEN IT STATED THAT RICHARD BARNETT HAS BEEN
      PERMITTED FULL REIGN OF HIS PROPERTY.

       At no point in time has Mr. Barnett been permitted full reign of his property. Richard

Barnett lives on eight (8) acres of land. While on home detention his movement has been restricted

to approximately two (2) acres of his land, where he works on his cars and trucks, and maintains

his property, as per an agreement with Arkansas Pretrial Services. A consequence of buying and

selling automobiles, Mr. Barnett has vehicles, parts, and tools strategically placed on the portions

of his acreage where he has been granted regular access by Arkansas Pretrial Services. As such,

these are the areas he frequents the most. In terms of limitations, Mr. Barnett is not permitted to

go past the gate at the bottom of his property absent permission. He is also not allowed to go into

the woods on the East side of his property. Therefore, the government’s assertion that Barnett has

full reign of his property is a lie, without merit, and should be given no weight whatsoever.




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   B. THE GOVERNMENT’S ASSERTION THAT MR. BARNETT’S BIRTHDAY PARTY IS SOMEHOW
      REFLECTIVE OF HIS TAKING ADVANTAGE OF HIS ARRAIGNMENT WITH PRE-TRIAL
      SERVICES IS YET AGAIN A LIE.

       To be clear, Mr. Barnett did celebrate his birthday at home with approximately 10-12

people who were not at the Capitol on January 6, 2021. Nowhere in the conditions of his release

is there a prohibition against this. The fact that the government is trying to convert this into some

kind of nefarious behavior is demonstrative of the fact that government will stop at nothing to

make Mr. Barnett’s life a living hell. Be that as it may, the fact remains that Mr. Barnett had a

birthday party with Pretrial Service’s permission. As such, these actions should be weighed in his

favor, not against him, as it evidences compliance with the conditions of his release.

   C. THE GOVERNMENT’S ARGUMENT THAT LAW ENFORCEMENT HAS BEEN CALLED TWO
      TIMES FOR UNVERIFIABLE REASONS HAS NO MEANING AND SHOULD BE GIVEN NO
      WEIGHT AGAINST MR. BARNETT WHATSOEVER.

       Mr. Barnett’s release conditions prohibit him from violating federal, state, and or local law.

The government has stated that on two occasions, an unidentified party called about Mr. Barnett

for unverifiable reasons. This is a statement without meaning. Surely the government is not asking

this court to consider as evidence of wrongdoing the fact that some mystery person from an

undisclosed location made a report against Mr. Barnett that went absolutely nowhere?

       To be clear, local law enforcement came to Mr. Barnett’s residence one time, not two as

the government asserts. The reason why law enforcement came is because someone, somewhere,

was discharging a weapon in the hills of Arkansas. Law enforcement found no wrongdoing

whatsoever on Mr. Barnett’s part, and wrapped up its investigation that day. Despite this reality,

we find ourselves once again having to debunk lies and mischaracterizations made by the

government.




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        The other occasion was a business dispute where the police were called and the

explanation, however, is simple. Richard Barnett buys and sells automobiles and their parts. Mr.

Barnett entered into a transaction with a man from outside of Fayetteville, Arkansas. That man’s

residence was over 50 miles away, therefore Barnett was not able to go to his residence like he

would under normal circumstances. The man called Mr. Barnett, and made an offer to give Mr.

Barnett $1500.00 (One Thousand Five Hundred Dollars), a 1940 Chevy truck, and 1941 Chevy

Truck with all their relevant parts in exchange for Barnett’s Custom-Built Honda 100 RR

motorcycle.

        The man explained to Barnett that he wanted to help Barnett out of patriotic duty, as he

recognized Barnett from media coverage. Normally Barnett would have traveled to the seller’s

location, inspected, assessed, and appraised the trade. Not wanting to miss out on the deal, and

not having time to obtain this Court’s permission, Barnett went forth with the deal, only to end up

having the 1941 Chevy Truck arrive stripped of its most expensive parts, including the engine.

Barnett called the seller several times out of concern of being ripped off. The seller then called

the police and made a false statement to police, knowing full well that Barnett was on pretrial

release and under the supervision of this Court. Law enforcement investigated, and determined

that Barnett had done nothing wrong.        Despite this reality, the government has used this

unfortunate situation to argue that Mr. Barnett should not only have his modification request

denied, but also have his ability to provide for his family and work on his land restricted even

more.

        The government’s arguments about police reports should be given no merit whatsoever as

they fall grossly short of demonstrating non-compliance with Barnett’s conditions of release.

Furthermore, the fact that Barnett was materially disadvantaged in a business transaction due to



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the 50-mile-radius restriction, should serve as corroborative evidence of the need for said clause

to be modified as per our modification motion.

   D. THE ARGUMENT THAT RICHARD BARNETT TELLING RUSSIAN TV THAT HE WILL
      NEVER STOP EXERCISING HIS FIRST AMENDMENT RIGHT TO FREE SPEECH IS
      SOMEHOW EVIDENCE OF DANGEROUSNESS IS MERITLESS.

       There is no condition of Mr. Barnett’s pretrial release that prevents him from exercising

his First Amendment Rights, because such a prohibition would on its face be unconstitutional. Mr.

Barnett’s statement that he will continue to exercise his First Amendment rights might subject Mr.

Barnett to restrictions of his liberty in Russia if he were a Russian citizen, but his utterance, that

advocates no violence, is hopefully protected speech in the United States. The government’s

frivolous and meritless argument is nothing more than tabloid fodder and should be given no

weight whatsoever by this Court.

   E. THE GOVERNMENT’S ARGUMENT REGARDING RICHARD BARNETT RAISING FUNDS FOR
      HIS LEGAL DEFENSE IS MERITLESS AND SHOULD BE GIVEN NO WEIGHT WHATSOEVER.

       The AUSA in this matter has the entire FBI at her beck-and-call, including all of its

resources, tricks, and media to back every allegation. They have hundreds of agents, investigators,

and resources that only one man could dream of.

       The DOJ’s prosecution of persons accused of January 6th related crimes is now the largest

in its storied history. The DOJ’s corresponding budget to prosecute these cases is the largest in its

history as well. All Mr. Barnett has in this case is his few attorneys. In order to maintain his

freedom, he must be able to make ends meet and fund his defense accordingly.

       The government assertion that raising money for his defense is problematic is without merit

as there is no condition of Mr. Barnett’s pretrial release that prevents him from raising money for

his legal defense. As stated on www.bigobarnett.com, Barnett’s legal fund is managed by the

McBride Law Firm PLLC in compliance with Model Rule 1.8(f) and D.C. Rule 1.15.

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        Unlike the government, Mr. Barnett does not have the American Taxpayer footing the bill

for his legal case. And while the government is well within its rights to dislike the fact that Mr.

Barnett is attempting to raise money for his defense, it has zero grounds to interrupt and/or prevent

Barnett from doing so, unless he violates the conditions of his release, which he certainly has not

done.

   F. THE GOVERNMENT’S PROPOSED ADDITIONAL REQUESTS SHOULD BE REJECTED IN
      THEIR ENTIRETY AS THEY ARE CLEARLY PUNITIVE, VINDICTIVE, AND MERITLESS.

        First, the government wants Mr. Barnett “to remain inside of his residence (not elsewhere

on his property) except during business’s hours, 9 a.m. to 5 p.m. While a government bureaucrat’s

“business hours” may be 9-5, the “business hours” of the average American worker, especially

those who live outside the beltway in rural areas like Mr. Barnett does, are from sunrise until the

job gets done, which often means late into the night. While it may be possible for a U.S. Attorney

to prosecute a criminal defendant from the comfort of her home. It is not possible for Richard

Barnett to rebuild the engine or replace the transmission on a 1940’s Dodge Truck from the comfort

of his living room couch. Nor is it possible for him to inspect, appraise, and purchase a classic

automobile where each part must be verified up close and in person from a lap top computer.

        Second, the government wants Mr. Barnett to report “all funds received from any source,

including any spousal income to Pretrial Services.” This requirement is unnecessary to ensure the

safety of the community, inappropriately invasive, and will only impose more administrative and

accounting burdens on Mr. Barnett and pretrial services. These proposed additional requests,

including the request for a hearing should be dismissed in their entirety, with prejudice.

        Lastly, regarding overnight travel, Mr. Barnett will continue to respectfully request this

Court’s permission on a case-by-case bases, as the perspective need arises.




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                                         IV.     CONCLUSION

       The government argues that Mr. Barnett “. . . has displayed a notable lack of caution as to

his conditions of release” but fails to allege sufficient facts demonstrating the validity of its

arguments. The government has done nothing more than homogenize a series of lies, bent truths,

and distorted facts in a pathetic attempt to cast Richard Barnett in the worst possible light, so as to

deprive him of freedom, liberty, and justice, by creating conditions of controversy where none

exists. As such, the government’s arguments should be rejected.



Dated: June 17, 2021                                   Respectfully Submitted,


                                                        /s/ Joseph D. McBride, Esq.
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